 

Case 3:07-cr-00139-TJC-MCR Document 56 Filed 04/22/08 Page 1 of 1 PagelD 108

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

JACKSONVILLE DIVISION
UNITED STATES OF AMERICA CASE NO. 3:07-cr-139-J-32TEM
ANDREW TYSON CREWS
Counsel for Government: Counsel for Defendant:
Bonnie Ames Glober Lynn Palmer Bailey

 

HONORABLE TIMOTHY J. CORRIGAN, UNITED STATES DISTRICT JUDGE
Courtroom Deputy: Marielena Diaz
Court Reporter: Deanne Moore U.S. Probation: William R. Hutchinson

 

CLERK'S MINUTES

PROCEEDINGS OF SENTENCING:
Evidentiary/contested:
United States’ witnesses:

Defendant’s witnesses:

United States’ exhibits filed in evidence:

Defendant’s exhibits filed in evidence:

Plea previously accepted.

Defendant adjudged guilty on Count_One_of the Indictment
Imprisonment: One Hundred Twenty (120) Months
Court recommends confinement at:_As close to Hilliard, Florida, as possible

Court recommends to the BOP that defendant enroll in a residential substance abuse treatment program, pursuant to 18
U.S.C. § 3621(e).

Court recommends to the BOP that defendant enroll in any educational and vocational programs as are available.
Defendant be evaluated to determine whether he requires mental health treatment and, if so, that it be provided .
Supervised Release: Four_(4) years.

Probation:

Special Assessment: $100.00 to be paid immediately.

Restitution:

Special conditions of supervised release/probation:
Defendant shall provide the Probation Officer access to any requested financial information.

Defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or
obligating himself/herself for any major purchases without approval of the Probation Officer.

Defendant shall participate as directed in a program of mental health treatment.

Defendant shall participate as directed in a program for substance abuse treatment.

Defendant shall participate in the Home Detention program for a period of

Defendant shall perform hours of community service as directed by the Probation Officer.

If deported by the Bureau of Immigration and Customs Enforcement (BICE), the Defendant shall not re-enter
the United States unless allowed to do so legally.

Mandatory drug testing suspended. Defendant poses a low risk.

Defendant shall cooperate in the collection of DNA as directed by the probation officer.

The defendant will receive any available vocational and educational programming.

Counts Two and Three of the Indictment are dismissed on motion of Assistant U.S. Attorney or pursuant to
Plea Agreement.

Defendant is remanded to the custody of the U.S. Marshal.

Defendant shall surrender to the designated institution as notified by the U.S. Marshal.

Defendant advised of right to appeal and to counsel on appeal.

Other:

 

 

 

 

 

 

 

 

 

 

FRE LIT EL |

| Fl F

 

DATE: April 22, 2008 TIME: 3:04 p.m. - 4:29 p.m.
